                  * UNITED STATES
        Case 1:18-cr-00083-TSE     DISTRICT
                               Document     COURT
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                                                  10/19/18 Page 1MINUTES   * 6641
                                                                  of 1 PageID#

Date: 10/19/2018                                                           Case #: 1:18cr83
Time: 1:29 p.m. - 1:47 p.m.                                       Interpreter/Lang:


                     Honorable T.S. ELLIS, III, United States District Judge, Presiding

               Richard Banke                                                  T. Harris
              Courtroom Deputy                                               Court Reporter

UNITED STATES OF AMERICA

v.

Paul J. Manafort, Jr.                        Deft appeared: X in person       failed to appear
                                                                     X      with Counsel         without Counsel
                                                                          through Counsel


       Thomas E. Zehnle and Kevin Downing                  Brandon L. Van Grack, Greg D. Andres, and Uzo
       Counsel for Defendant:                              Asonye
                                                           Counsel for Government:

Matter called for:
[ ] Arraignment         [ ] Pre-Indictment Plea     [ ] Change of Plea [ ] Motions
[ ] Sentencing          [ ] Revocation Hearing      [ ] Rule 35            [ ] Appeal (USMC)
[ ] Rule 20 & Plea      [ ] Setting Trial Date      [ X ] Other: Setting sentencing, ordering PSR, and discussing
                                                    dismissal of outstanding counts.

Filed in open court:
[ ] Information [ ] Plea Agreement       [ ] Statement of Facts   [ ] Waiver of Indict. [ ] Discovery Order




The court orders the preparation of a PSR and sets sentencing for 2/8/2018 at 9:00 a.m. The court also
dismisses deadlocked counts without prejudice.

Deft is: [ X ] Remanded [ ] Self Surrender [ ] Cont’d on same terms and conditions of release
